UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,           24-cr-542 (AS)

     v.

SEAN COMBS,

                 Defendant.



            MEMORANDUM OF LAW IN SUPPORT OF MOTION
    TO SUPPRESS EVIDENCE OBTAINED THROUGH SEARCH WARRANTS,
           OR IN THE ALTERNATIVE, FOR A FRANKS HEARING
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                                         INTRODUCTION

        The government has a duty of candor when it seeks warrants. The nature of the proceeding

mandates secrecy, so the process is not adversarial. Precisely for that reason, investigators have

an obligation to present a fair picture of the evidence, including both inculpatory and exculpatory

facts. While investigators need not present a magistrate with every bit of evidence they have

discovered, they must nonetheless include a reasonably even-handed account, and they cannot

omit critical exculpatory facts that might undermine a finding of probable cause. As the Second

Circuit has instructed, investigators should include evidence if it is “the kind of thing the judge

would wish to know” in determining whether probable cause exists. United States v. Rajaratnam,

719 F.3d 139, 154 (2d Cir. 2013) (quoting Wilson v. Russo, 212 F.3d 781, 788 (3d Cir. 2000)).

        The government in this case utterly failed to do so. It sought several warrants to search

Mr. Combs’s residences, his electronic devices, and his person—and it presented a grossly

distorted picture of the facts. It included only inculpatory facts, and it excluded critical exculpatory

evidence that was indisputably in its possession at the time. The government claimed victims were

coerced into sex, but it failed to inform the magistrate that

                                                                                                       .

It also failed to inform the magistrate that it possessed text messages between the alleged victims

and Mr. Combs,                                   . The applications were intentionally misleading,

which, at a minimum, requires a Franks hearing.

       The warrants themselves were also grossly overbroad. On a theory that Mr. Combs’s entire

life was a criminal enterprise, the government sought virtually limitless authority to seize any

evidence related to that “enterprise”—all his digital devices and the information they contained,

all information in his iCloud accounts, plus troves of records and items in his houses, almost none

of which was contraband. As in United States v. Wey, 256 F. Supp. 3d 355 (S.D.N.Y. 2017), where
Judge Nathan found similar warrants unconstitutional, here the government obtained authority “to

rummage at will among” Mr. Combs’s “private effects,” Arizona v. Gant, 556 U.S. 332, 345 (2009).

       Perhaps most troublingly, the government received essentially limitless authority to search

Mr. Combs’s digital devices, which contained a “vast trove of personal information,” United States

v. Ganias, 824 F.3d 199, 217 (2d Cir. 2016) (en banc). The Supreme Court and Second Circuit

have repeatedly warned that it is especially important that digital device searches must be limited

and particularized. The warrants here were not. The warrants were thus unconstitutional general

warrants, and the evidence obtained through those warrants must be suppressed.

                                  FACTUAL BACKGROUND

       During its investigation, the government executed numerous search warrants. On January

4, 2024, it received a warrant to obtain all information in Combs’s iCloud accounts. On March 22,

2024, it received two warrants to search Combs’s residences in Los Angeles (Mapleton Drive) and

Miami (Star Island Drive). Both applications were based on substantially identical affidavits

sworn by HSI Special Agent Sean Quinn. Three days later, on March 25, the government obtained

an additional warrant to search Combs’s person and to seize and search two of his cell phones.1

The warrants sought to obtain evidence related to possible crimes of racketeering, sex trafficking,

and obstruction of justice. The list of “items to be seized” at the residences was incredibly broad,

spanning pages, and included among other categories all digital devices found within the

residences. The list of information to be obtained from the devices was similarly broad.

       But as detailed below, the warrant applications presented a grossly distorted picture of

reality. The government had in its possession, for example, a variety of evidence—including



1
 Paragraph citations herein are to the Los Angeles warrant. See Ex.2. The same information,
with minor variations in paragraph numbering, is presented in the Miami warrant and the March
25 warrants. See Exs.3-6. “Ex.” refers to exhibits to the accompanying Geragos Declaration.

                                                 2
                                                          —suggesting Victim-1’s participation in the

alleged “freak-offs” (FOs) was voluntary and consensual, not coerced as the government suggested

in its applications. The government’s claims                                                      was

based primarily on statements from Producer-1, an utterly unreliable witness whose claims were

contradicted by other evidence that the government failed to mention. And the government’s

obstruction allegations were based largely on texts and statements taken out of context—a critical

part of the context being that

                                                      . The affiant also failed to mention that nearly

every witness he interviewed had                                                        , giving them

a financial motive to fabricate or embellish.

       The probable cause statements were intentionally misleading.              But it worked—the

government got its warrants, leaked damaging information, and then executed its military-style

raids at Combs’s residences.      Through this duplicity, the government obtained evidence—

including multiple electronic devices with an enormous amount of information about his entire

life—and an enormous and unfair tactical advantage. It continued to press its advantage, obtaining

an indictment and multiple additional warrants, which were also incredibly broad.

                                           ARGUMENT

I.     THE   GOVERNMENT’S  WARRANT   APPLICATIONS  CONTAINED
       INTENTIONALLY OR RECKLESSLY DECEPTIVE STATEMENTS AND
       OMISSIONS

       A.      Warrant Applications May Not Omit Critical Exculpatory Evidence

       Under the Fourth Amendment, a warrant may only issue upon a showing of probable cause.

But as then-Judge Barrett wrote, the Warrant Clause is “not merely a probable-cause guarantee”—

rather, it “is a guarantee that a warrant will not issue unless a neutral and disinterested magistrate

independently decides that probable cause exists.” Rainsberger v. Benner, 913 F.3d 640, 650 (7th


                                                  3
Cir. 2019) (Barrett, J.). A magistrate can only perform that function if the government provides an

accurate and complete statement of the evidence demonstrating probable cause. Under Franks v.

Delaware, 438 U.S. 154 (1978), if a statement of probable cause contains material false or

misleading statements or omissions, then the warrant is invalid, and any evidence obtained

pursuant to the warrant must be suppressed.

       To suppress evidence obtained pursuant to a warrant, a defendant must show: (1) that the

warrant application contained intentionally or recklessly misleading statements or omissions and

(2) that the falsehoods or omissions were material and necessary to the warrant’s issuance. See

United States v. Canfield, 212 F.3d 713, 717-18 (2d Cir. 2000). To obtain a Franks hearing, a

defendant need only make a “substantial preliminary showing” as to each prong. Franks, 438 U.S.

at 155-56; see United States v. Lauria, 70 F.4th 106, 131-32 (2d Cir. 2023) (vacating judgment and

remanding for a Franks hearing on unresolved factual issues). Recklessness or intent “may be

inferred where the omitted information was clearly critical to the probable cause determination.”

Rivera v. United States, 928 F.2d 592, 604 (2d Cir. 1991); see United States v. Lahey, 967 F. Supp.

2d 698, 723-27 (S.D.N.Y. 2013) (suppressing evidence after finding reckless omissions).

       As noted, a warrant application can be false either through affirmative false statements or

misleading omissions. An application must contain a reasonably complete statement of the

evidence, including exculpatory evidence that would be critical to the evaluation of probable cause.

“Though an officer need not volunteer every fact that arguably cuts against the existence of

probable cause, the officer may not omit circumstances that are critical to the evaluation of

probable cause.” Brown v. D’Amico, 35 F.3d 97, 99 (2d Cir. 1994); see Rainsberger, 913 F.3d at

647 (“An officer similarly violates the Fourth Amendment if he intentionally or recklessly

withholds material information from a probable cause affidavit.”). While an application need not

include “every potentially evocative detail that would interest a novelist or gossip,” an investigator


                                                  4
“cannot make unilateral decisions about the materiality of information” or “merely inform the

magistrate or judge of inculpatory evidence.” Washington v. Napolitano, 29 F.4th 93, 108 (2d Cir.

2022) (quoting Wilson, 212 F.3d at 787). Simply put, an affiant seeking a warrant cannot withhold

important exculpatory evidence from the magistrate.

        The duty to include critical exculpatory evidence includes a duty to reveal information that

undermines the credibility of a confidential informant or other witness. When the government

relies on witnesses’ statements rather than an investigator’s own observations, their “credibility is

plainly relevant—even critical—to the probable cause determination.” McColley v. County of

Rensselaer, 740 F.3d 817, 825 (2d Cir. 2014). The “failure to provide known information that goes

directly to the credibility” of a witness or informant violates an investigator’s duty to disclose. Id.

        The government made false statements and omitted critical exculpatory evidence in its

warrant applications in this case. This omitted evidence was in the government’s possession at the

time it sought the warrants. The omissions were intentional, or at the very least, reckless.

        B.      The Government’s Warrant Applications Hid Critical Exculpatory Evidence
                Regarding Victim-1’s Consent And Financial Motive

        1.      The core allegation in the warrant applications—and indeed the government’s

entire case—is that Combs forced Victim-1 to participate in FOs. In its March warrant applications

to search the residences, it stated:

                      Ex.2 ¶11.c. This statement was based on the investigator’s interview with

Victim-1, which took place five years after the events. Id. ¶11. But the government unaccountably

failed to inform the magistrate

                                                 , both of which severely undermined its account.

        When it sought the warrants to search Mr. Combs’s residences, the government had already

obtained one device from Victim-1 that contained



                                                  5
                                                                   Geragos Decl. ¶8.

       Unbelievably, the government did not                         in the warrant applications—

or even inform the magistrate                 . Faced with a claim of coerced and forced sex, the

                                     is the sort of thing that any factfinder “would wish to know.”

Rajaratnam, 719 F.3d at 154. This was no accidental omission.

       2.     By the time it obtained the warrants to search Mr. Combs’s residences, the

government had also already obtained



                          .2    Once again, these                                  contradict the

government’s claims that the FOs were coerced.




                                            Ex.10.




2
 The warrant applications state that the agent had already reviewed the “SC Bad Boy iCloud-1
account and the PD Team iCloud-1 account.” Ex.2 ¶17.

                                               6
Ex.11.

                                        Ex.12.




             Ex.13.




                               Ex.14.




    Ex.15.




                                         Ex.16.




                      Ex.17.




             7
                            Ex.18.

                                                             Ex.19.

                                                                         Ex.20.

       The government alleged,

                                                  . Ex.2 ¶11.j. But it failed to mention



Ex.21. The government alleged that

                             Ex.2 ¶11.r. But it failed to mention

                                                                        Ex.22.

       More generally, even as their relationship deteriorated and the two managed a break-up,

                                                                             .



          Ex.23.



                             Ex.24.



           They are important evidence. They show the context of the relationship, and they also

                                                                                 They are “the kind

of thing” that any magistrate judge “would wish to know” when reviewing a warrant application

in a sex trafficking case. Rajaratnam, 719 F.3d at 154. Yet the warrant applications contain not

even a hint of them—they didn’t even inform the magistrate judge that this evidence existed. They

simply stated that                                                         ” Ex.2 ¶11.c. This was

intentionally misleading.                                             contradicted Victim-1’s later


                                                 8
accounts, and gave the investigator “obvious reasons to doubt the veracity of the allegations.”

United States v. Cerda, 2023 WL 3792448 at *6 (E.D.N.Y. June 2, 2023) (quoting Rajaratnam,

719 F.3d at 154). The investigator was thus legally required to disclose them.

       3.                                       contradict the applications in other ways too. The

applications said



               . Again,                                                      tell a different story.



                                  .3

                           .4 Ex.25.



                                               Ex.16.




                                                                   Ex.18.

       The warrant applications also claimed

    . Once again, the government hid evidence to the contrary. For example,



                                                        . Ex.13.




3
                    is a male escort service. As the motion to dismiss Count Three details, the
service has been operating in the open for a over a decade.
4
  The investigators had                                                       .

                                                9
                                                              Ex.26. As the government has since

conceded in disclosure letters,                                                                      .

       Moreover, the government hid evidence that Combs at times discouraged              from using

so many drugs.



                                                                          Ex.27.



                                                   Ex.15.

       4.      Finally, the warrant applications contain no mention of Victim-1’s financial motive

to exaggerate and falsify.        As the government knew,




                                                                                                 thus

provided an unusually strong motive to fabricate, years after the underling events.



                   , suggest that years after her relationship, she changed her story in a way that

would cause maximum potential damage to Combs—and thus give him maximum incentive to

agree to a large payment. This is exactly the sort of evidence that “goes directly to the credibility”

of the witness, whose story provided the core of the government’s applications. McColley, 740

F.3d at 825. As courts around the country have held, evidence that undermines the credibility of a

key witness must be revealed because “[t]he magistrate judge must be given the opportunity to


                                                 10
assess the ‘totality of the circumstances.’” United States v. Vigeant, 176 F.3d 565, 574 n.9 (1st Cir.

1999); see United States v. Baxter, 889 F.2d 731, 734 (6th Cir. 1989).

       Here, rather than giving the reviewing magistrate a fair summary, the government hid

exculpatory evidence to bolster its case. The warrant applications were “calculated to mislead,”

omitting “clearly critical” evidence. United States v. Reilly, 76 F.3d 1271, 1280 (2d Cir. 1996).

       C.      The Government’s Warrant Applications Hid Critical Exculpatory Evidence
               Regarding Credibility Of Other Witnesses

       The government also sought to corroborate Victim-1’s allegations, and make related

allegations, with statements from other witnesses and victims. Again, the government hid evidence

undermining these witnesses’ credibility and presented misleading and selective accounts. We are

not dealing here with omission of a few ancillary facts. This is a case of systematic deception.

       1.      Sex-Worker-1. The government relied on information from Sex Worker-1—




                                                          Ex.2 ¶11.h.

       But Sex Worker-1 has also given the government exculpatory information, none of which

was included in the warrant applications. In its December 29, 2024 discovery letter, for example,

the government revealed that



                                  ”5 Ex.32.



Ex.33. These statements—from a key participant in the FOs—undermine the allegations that



5
 The government has refused to provide the defense with the names of anonymized individuals
named in the warrants. Sex Worker-1 appears to be the same person disclosed in the letter.

                                                 11
                                                        .” And they corroborate

                                                                                      .

         It is unclear when the government received this information—the government has only

stated

                                                                                                —

something any investigator would have asked. It is also unclear what other exculpatory statements

Sex Worker-1 made about

That is precisely why a Franks hearing is required—to learn more about what the government

knew, and when. Moreover, even if the government was not yet aware of

                                                                    it could have been aware had it

asked. See United States v. Yusuf, 461 F.3d 374, 385 (3d Cir. 2006) (failure to “undertake further

investigation” in face of questions about the accuracy of information is reckless).

         Given the government’s loose relationship with the truth throughout its warrant

applications, the most obvious inference is that the government was already aware of Sex Worker-

1’s exculpatory statements but simply failed to include them in the applications. It did exactly

what the Second Circuit forbids—“merely inform[ing] the magistrate or judge of inculpatory

evidence.” Napolitano, 29 F.4th at 108.

         2.       Assistant-1. The warrant applications relied on information about Assistant-1,

including                                                                                   . The

applications said Assistant-1                                                                . Ex.2

¶12.n. As with Victim-1, the applications failed to disclose that



              .




                                                12
       But the applications were particularly misleading in their recounting of supposed

obstruction of justice. They stated Combs had obstructed justice by




                                               Ex.2 ¶31.a-c. But the government cherry-picked a

couple of statements out of context to imply

       But the complete thread demonstrates the opposite.

                                                                                    Ex.28.




                  Ex.29.                                                               Ex.30.

       This was not a harassing or threatening exchange. It was, rather,



 does not remotely make out probable cause for an act of obstruction. But the government plucked

a few quotes out of context and thus presented the magistrate with a completely distorted picture

of what happened. That distortion could not have been accidental—it was a deliberate choice.




                                                13
       3.      Producer-1. Some of the most salacious allegations recounted in the warrant

applications came from Producer-1, who the government now says it will not even call to testify

at trial. The investigator indicated he had interviewed Producer-1, and Producer-1 had relayed

stories about his time working for Combs. Ex.2 ¶21. Producer-1 claimed, among other things,

that

                                   . Id. ¶21a-c. But the most serious and specific allegation from

Producer-1 was his claim that                                             . The applications state




             Id. ¶27.b.

       These accusations were never credible. They were uncorroborated—

                                                                          And the government had

boatloads of contrary evidence, including

                                             The government eventually dropped these allegations

in later warrants, but their lack of credibility was manifest from the outset.

       And the government once again failed to disclose Producer-1’s financial incentive to

fabricate and embellish. Producer-1




                                                 14
                        ” Geragos Decl. ¶17.

       The government has advised us it will not call Producer-1 as a witness at Combs’s trial.

Presumably that is because his stories are fantastical, and he lacks any credibility. But his lack of

credibility was equally apparent in March 2024, in part based on

             . At a minimum, the warrant applications should have disclosed

                                                            —namely, his motive to fabricate and to

tell the government a story that matched the stories                                                .

       Once again, however, the government hid this from the magistrate. The investigator simply

relayed Producer-1’s claims, without qualification, as if he were a credible witness.

       4.      Victim-2.




       5.      Victim-3. The affidavits allege, based on interviews with Victim-3, that Combs

                                                      Ex.2 ¶19.b. The relevance of these allegations

is less clear. The claims about Victim-3 appear under the header




       In any event, the warrant applications once again include none of the information the

government must have known that called into question her credibility regarding the allegations.


                                                 15
                   Geragos Decl. ¶16.                                             Once again, none

of this information necessary to assess her credibility was included in the warrant applications.

       6.      Victim-4. The warrant applications included allegations that Victim-4

                                                        Ex.2 ¶33.    They went on to state that



                        . The government made no effort to corroborate Victim-4’s claims. If it

had conducted a reasonably competent investigation, it would have obtained evidence

contradicting her account, including




                  Ex.31.



       The applications failed to note that,




                                                                                                    .

       7.      Designer-1. The warrant applications also included allegations from Designer-1,

                                                                                                    .

Ex.2 ¶11.q, ¶26. The government also claimed a representative of Combs had engaged in




                                                16
obstruction when,

              Id. ¶32.a.

        The applications failed to note the context of that




        In sum, three critical witnesses on which the government relied were all

                                                                                              . Not

only did they have the general financial motive to fabricate—

                                                                                   That information

would have, to put it mildly, raised doubts about their credibility. But the government said nothing

about                                                          . Once again, it intentionally hid

evidence that would have undermined their credibility.

                                               ****

        The misrepresentations and misleading omissions in the warrants are frequent and

patterned. The affiant omitted, for example, all information about all the witnesses’           and

financial motives to fabricate. These omissions were “related and exculpatory,” indicating

recklessness. Lahey, 967 F. Supp. 2d at 723. This is a case where the “cumulative effect of all of

the omissions was to eliminate nearly every indicator detracting from the [witnesses’] reliability.”

United States v. Simmons, 771 F. Supp. 2d 908, 918 (N.D. Ill. 2011). This is a case where the

affiant “fail[ed] to provide all potentially adverse information” that might have undermined a

probable cause finding.     Reilly, 76 F.3d at 1280 (emphasis added). The law requires the




                                                 17
government to include all critical exculpatory information in a warrant application. Here, the

government included none.

       Sex trafficking, like child pornography, “is so repulsive a crime that those entrusted to root

it out may, in their zeal, be tempted to bend or even break the rules.” United States v. Coreas, 419

F.3d 151, 151 (2d Cir. 2005). When government investigators cheat to obtain warrants, “they

endanger the freedom of us all.” Id. In cases like this, it is essential that courts enforce the

requirements of the Fourth Amendment, both to protect the individual defendant’s rights and also

to deter this sort of government misconduct.

       D.      The Misstatements And Omissions Were Material

       There is no question, based on the above evidence, that the warrant applications contained

falsehoods and misleading omissions. The remaining question—the second prong of Franks—is

whether those falsehoods were material. This analysis examines what a hypothetical truthful

warrant application would have stated, and whether that information would have supported

probable cause. In the case of misstatements, a reviewing court must “set aside” the misstatements

and determine whether the “untainted portions” are sufficient for probable cause. Rajaratnam,

719 F.3d at 146 (cleaned up). In the case of misleading omissions, a court must “insert the omitted

truths” and determine whether they undermine probable cause. Id. (cleaned up).

       Here, truthful applications would have stated that Victim-1’s



                                                            but also that the relationship was long,

complicated, and often loving. They would have stated that



                                     Such a truthful presentation would not have provided probable




                                                18
cause for a sex trafficking charge or any other federal offense. Still less would it have provided a

basis to search everything and anything in Combs’s two residences a decade later.

           Truthful applications would have stated that Combs,

                                                          They would have stated Producer-1



                                                                                 . They would have

stated that

                               . Such a truthful presentation would not have provided probable cause

for sex trafficking or racketeering.

           Truthful applications would have stated that after



                         . They would have noted, however, that nearly all these witnesses had also



They would have noted that some of Combs’s representatives



           Such a truthful presentation would not have provided probable cause for obstruction of

justice.

           The government here unfortunately demonstrated a “‘dam[n] the torpedoes, full speed

ahead’ mentality.” United States v. Kunen, 323 F. Supp. 2d 390, 399 (E.D.N.Y. 2004). In its zeal

to prosecute a famous target, it rushed ahead and violated the law. It submitted an egregiously

false and misleading summary of the evidence, thus denying the “neutral and disinterested

magistrate” the opportunity to independently determine whether probable cause existed based on

a fair and truthful summary of the evidence. Rainsberger, 913 F.3d at 650. It presented only

inculpatory evidence, and it hid all exculpatory evidence. These falsehoods, taken in the aggregate,


                                                   19
were material to the probable cause determination. Truthful and complete applications would not

have provided probable cause to search both of Combs’s residences and all his devices.

II.    THE WARRANTS WERE UNCONSTITUTIONALLY BROAD

       The warrants themselves were also unconstitutionally broad. The charges here reflect an

extraordinary legal theory that Mr. Combs is himself an “enterprise” and that his businesses, his

household, his personal relationships, and his sex life were all part of a criminal conspiracy. That

broad theory is alleged in the indictment and reflected in the warrants. The government essentially

took the position that everything about his life is possible evidence of a crime. In a series of

warrants, it thus sought authority to search and seize anything in (a) his iCloud account, (b) his

residences, (c) his cellular phones, and (d) his hotel room. The only limitation was that evidence

had to be “related to the subject offenses”—but because the theory was that his entire life was a

racketeering enterprise, that was no limitation at all.

       This case “implicates the central concern underlying the Fourth Amendment—the concern

about giving police officers unbridled discretion to rummage at will among a person’s private

effects.” Gant, 556 U.S. at 345. That is exactly what the warrants unlawfully allowed.

       A.      The Fourth Amendment Forbids General Warrants

       The Fourth Amendment’s Warrant Clause requires that any valid warrant must state with

particularity the place to be searched and the things to be seized. The purpose of the particularity

requirement was to prevent the government from using broad warrants to rummage through a

person’s whole life. “The chief evil that prompted the framing and adoption of the Fourth

Amendment was the ‘indiscriminate searches and seizures’ conducted by the British ‘under the

authority of general warrants.’” United States v. Galpin, 720 F.3d 436, 445 (2d Cir. 2013) (quoting

Payton v. New York, 445 U.S. 573, 583 (1980)).




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       A warrant must at a minimum satisfy three criteria: It must specify the offense, it must

describe the place to be searched, and it must specify the relationship between the items sought

and the designated crimes. United States v. Ulbricht, 858 F.3d 71, 99 (2d Cir. 2017). In addition

to those three general factors, there are also “circumstance-specific considerations” that bear on

legality. United States v. Zemlyansky, 945 F. Supp. 2d 438, 454 (S.D.N.Y. 2013). For example, a

warrant that fails to indicate a reasonably specific date range can be constitutionally overbroad.

Id.; see United States v. Hernandez, 2010 WL 26544 at *9 (S.D.N.Y. Jan. 6, 2010).

       Moreover, the search and seizure of personal electronic devices raises additional concerns.

The seizure of such devices “can give the government possession of a vast trove of personal

information about the person to whom the drive belongs, much of which may be entirely irrelevant

to the criminal investigation that led to the seizure.” Ganias, 824 F.3d at 217. “[A] cell phone

search,” for example, “would typically expose to the government far more than the most exhaustive

search of a house,” because “[a] phone not only contains in digital form many sensitive records

previously found in the home; it also contains a broad array of private information never found in

a home in any form.” Riley v. California, 573 U.S. 373, 396-97 (2014). Indeed, these devices

contain “the privacies of life.” Id. at 403. Warrants seeking to seize and search personal devices

therefore create “serious risk that every warrant for electronic information will become, in effect,

a general warrant.” Galpin, 720 F.3d at 447. Thus, the Second Circuit has held that warrants

“lack[ing] meaningful parameters on an otherwise limitless search” of a person’s electronic

devices are invalid. United States v. Rosa, 626 F.3d 56, 62 (2d Cir. 2010).

       Again, at bottom, the core abuse that the Fourth Amendment sought to prohibit was

“general, exploratory rummaging in a person’s belongings.” Coolidge v. New Hampshire, 403

U.S. 443, 467 (1971). That is true as to the belongings in a person’s home, and as to the belongings




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on a person’s cell phone. In this case, the government sought and received authority for general

exploratory rummaging through Mr. Combs’s entire physical and digital life.

       B.      The Warrants Obtained By The Government In This Case Were Virtually
               Limitless

       The government sought warrants in this case that gave it the unfettered ability to search

Mr. Combs’s residences, his digital devices and his iCloud accounts. The government’s list of

“items to be seized” from his houses was pages long, and it is stunning in its breadth. The

government claimed the right to seize, among other things:

   •   Evidence of Mr. Combs’s location, or anything reflecting the location of any co-
       conspirator or witness—which, according to the government, seems to mean
       anyone who ever worked for Combs or went to a party;

   •   Utility bills, mail, correspondence, address books;

   •   All calendars or scheduling information, including travel records;

   •   All financial records, including bank statements and credit card statements, plus all
       cash, property deeds or titles, or anything related to property ownership; plus any
       evidence relating to online financial accounts;

   •   Any sex toys, sexually suggestive clothing (whatever that means), plus any medical
       supplies or other materials possibly related to sex, plus any bodily fluid or other
       material that might contain DNA evidence;

   •   Any communication or record of communication with any former sexual partner or
       employee of “the Combs Business,” plus any communication related to the charged
       offenses (which was, as noted, defined incredibly broadly) with any possible
       victim, coconspirators, or witnesses.

   •   Corporate records, including corporate organizational and ownership documents
       and employment records;

   •   Any digital device that might contain evidence, including phones, computers,
       iPads, and cameras.

       These descriptions were often written with catch-all clauses, with regular use of phrases

like “such as,” “including without limitation,” and “including but not limited to.” The list above



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is thus not even a remotely complete list of what the warrant sought—it merely sets forth some of

the high-level categories targeted by the government. See Ex.2 at Attachment B-1.

       The government’s warrants to search Combs’s iCloud accounts and his cell phones were

similarly broad. As to what information it sought, the government may just as well have said

“everything.” The iCloud warrant sought the ability to search anything stored in the accounts.

Ex.1. The cell phone warrants—both the initial March warrants and the subsequent September

warrant—sought all communications, photos, documents, calendars, location data, travel records,

financial records, call records and so on—anything “related to the subject offenses.” Exs.5-8. But

because the subject offenses were defined as including all of Combs’s businesses, his household,

and his relationships with his girlfriends over the last two decades, it is hard to think of anything

that would not have been “related to the subject offenses.”

       In United States v. Wey, Judge Nathan held that similarly broad warrants were

unconstitutionally broad and suppressed the evidence obtained through the warrants. Wey involved

securities fraud offenses, and the government obtained warrants to search both his residence and

his place of business. 256 F. Supp. 3d at 359-60. The warrants broadly sought any and all records

or evidence that might be related to the offense, including financial records, bills, messages, travel

records, photographs, computers and cell phones, and so on—indeed, the broad list of “items to be

seized” very much resembles the list in this case. See id. at 364-65.

       The district court ruled the warrants were overbroad and therefore illegal. Several key

reasons undergirded the ruling. Although the warrants generally identified the crime as securities

fraud, the categories of documents sought were so “broad and numerous as to be consistent with

an investigation into almost any form of financial crime.” Id. at 385. More importantly, the

warrants set forth “expansive categories of often generic items subject to seizure—several of a

‘catch-all’ variety—without, crucially, any linkage to the suspected criminal activity, or indeed any


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meaningful content-based parameter or other limiting principle.” Id. In Wey, as here, the listed

property was not illegal contraband. Rather, it was property in lawful use that the government

only vaguely suggested might be “related” to broadly-specified criminal activity. Id. (citing 2

Wayne R. LaFave, Search and Seizure: A Treatise on the Fourth Amendment § 4.6(a) (5th ed.

2012)). In Wey, as here, the warrants lacked any meaningful temporal limitation on the items that

could be seized. Id. at 387-88.

       At bottom, the warrants in Wey violated the Fourth Amendment because they authorized

“the seizure of sweeping categories of materials” and lacked “any practical tool to guide the

searching agents in distinguishing meaningfully between materials of potential evidentiary value

and those obviously devoid of it.” Id. at 386-87. As Judge Nathan concluded, “the Warrants are—

in function if not in form—general warrants.” Id. at 386.

       The same is true here. Indeed, the warrants here are even more infirm: whereas the

warrants in Wey authorized unbounded search of the defendant’s business affairs, the warrants here

authorized unbounded search of Mr. Combs’s business and personal affairs. The warrants here

allowed the very sort of “general, exploratory rummaging in a person’s belongings,” that the

Fourth Amendment forbids. Coolidge, 403 U.S. at 467. Nor can the government evade the Fourth

Amendment’s limits simply by stating that Mr. Combs was himself a sort of “criminal racketeering

enterprise” and therefore all evidence of his business and personal life was relevant evidence of a

crime. If such a rhetorical trick were allowed, the Fourth Amendment would lose all meaning.

                                              ****

       Lord Chief Justice Holt once famously challenged a prosecutor: “Hold, what are you doing

now? Are you going to arraign his whole life?” Harrison’s Trial, 12 How. St. Tr. 834, 864 (Old

Bailey 1692). That is exactly what the government did here. It charged Mr. Combs’s whole life

as a racketeering enterprise, and then it obtained warrants to search his whole life. The iCloud


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warrant, the warrants to search his hoses, the cell phone warrants, and the Park Hyatt warrant

were—individually and collectively—exactly the sort of “general warrants” that the Fourth

Amendment sought to prohibit.

                                       CONCLUSION

       For the foregoing reasons, this Court should suppress the evidence and all fruits obtained

from the warrants to search Combs’s residences, his person, his iCloud account, and his devices.

These warrants were unconstitutionally broad. In the alternative and at a minimum, this Court

should order a Franks hearing to hear additional evidence and determine whether the warrants

were improperly obtained through deception.

Date: February 18, 2025                                    Respectfully Submitted,

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